      Case 1:15-cv-01978-MHS Document 5 Filed 06/15/15 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT 

                   FOR THE NORTHERN DISTRICT OF GEORGIA 

                             ATLANTA DIVISION 


ROBERT JUDY,                                  )

                                              )
                                              )
      Plaintiff,                              )
                                              )    Civil Action File (}1 ti s
v.                                            )    No. 1:15-cv-1978-:MH€
                                              )
NU LIFE MED, LLC,                             )
                                              )
      Defendant.                              )
------------------------) 

      ORDER APPROVING SETTLEMENT AND DISMISSING CASE

      TillS MATIER is before the Court upon the parties' Joint Motion To

Approve Settlement Agreement. The Court having reviewed the Motion and being

fully advised in the premises, it is hereby

      ORDERED AND ADJUDGED as follows:

1.    The Joint Motion to Approve Settlement Agreement is GRANTED.

2.    The Court finds that the agreed-upon terms and conditions of settlement of

this litigation arising under the Fair Labor Standards Act, as set forth in the

Settlement Agreement, are fair and reasonable under the circumstances, and the

Settlement Agreement is hereby APPROVED.

3.    This cause is hereby DISMISSED without prejudice, with costs and fees to

be paid pursuant to the terms of the Settlement Agreement.
   Case 1:15-cv-01978-MHS Document 5 Filed 06/15/15 Page 2 of 2




                                                          t

DONE AND ORDERED in Chambers at Atlanta, Georgia, this   ~      day of


~        ,2015.




                                 Senior U.S. District Judge
                                 Northern District of Georgia
                                 Atlanta Division
